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A0458(Rev. 06/09) Appearance of Counsel



                                   United States District Court
                                                           for the

                                               Eastern District of Virginia



                 United States of America
                           Plaintiff
                              V.                                     Case No.    4:18mj65
                    Edwin K. Lawrence
                          Defendant


                                             APPEARANCE OF COUNSEL


To:      The clerk of court and all parties of record

         I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Edwin K. Lawrence



Date:         09/04/2018
                                                                                        Attorney's signature


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